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                                   UNITED STATES DISTRICT COURT
1
                                            DISTRICT OF NEVADA
2

3    UNITED STATES OF AMERICA,                             )
4
                                                           )
                            Plaintiff,                     )        Case No.: 2:10-cr-287-GMN-VCF
5            vs.                                           )
                                                           )                       ORDER
6    LANCE KELLOW,                                         )
                                                           )
7
                            Defendant.                     )
8                                                          )

9

10           Pending before the Court is the Motion to Vacate under 28 U.S.C. § 2255, (ECF No.
11   302), filed by Petitioner Lance Kellow (“Petitioner”).1 The Government filed a Response.
12   (ECF No. 307). Petitioner did not file a reply, and the time to do so has passed.
13   I.      BACKGROUND
14           Petitioner moved to Las Vegas in 2006 and established a mortgage company as a
15   licensed broker. (Tr. of Proceedings at 33–34, 51, ECF No. 252). Petitioner’s brothers, Jason
16   Kellow (“Jason”) and Vinson Kellow (“Vinson”) (collectively “Petitioner’s brothers”), moved
17   to Las Vegas with Petitioner and both served as loan officers. (Tr. of Proceedings at 12–13,
18   ECF No. 256). Vinson came upon some financial troubles and, together with Petitioner, they
19   tried to pay off his debt using mortgage loans. (Tr. of Proceeding at 77–80, ECF No. 251). In
20   pursuing this scheme, Petitioner acquired a straw buyer who made false representations on a
21   loan application that Petitioner and his brothers had already filled out. (Id. at 83–84).
22   Additionally, Petitioner and his brothers helped the straw buyer misrepresent the amount of
23   money in the straw buyer’s account; ultimately, the deal closed on March 15, 2007, with
24
     1
      Also pending before the Court is the Motion for Leave to File and Dismiss Attorney, (ECF No. 301), filed by
25   Petitioner. For good cause appearing, the Court GRANTS in part Petitioner’s Motion in permitting him to file
     his § 2255 Motion pro se. However, the Court DENIES Petitioner’s Motion requesting his currently retained
     counsel, Michael Cristalli, be dismissed.

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1    Vinson accepting a $174,791 check for the sale of the property. (Tr. of Proceedings at 87–89,
2    ECF No. 251); (Tr. of Proceedings at 66–67, ECF No. 255). Petitioner and his brothers
3    repeated this scheme with two other properties. (Tr. of Proceedings at 59, ECF No. 251).
4           The Government indicted Petitioner and his brothers, and Jason and Vinson eventually
5    accepted plea agreements. (See Plea Agreement, ECF No. 31); (see Mins. of Proceedings, ECF
6    No. 105). In refusing to take a plea, Petitioner retained Luis Rojas (“Rojas”) and Stephen Stein
7    (“Stein”) as his trial counsel (collectively “trial attorneys”), and proceeded to trial. (See, e.g.,
8    ECF Nos. 7, 9). On March 1, 2013, after a ten-day trial, a jury found Petitioner guilty of Count
9    One of the Second Superseding Indictment, Conspiracy to Commit Mail and Wire Fraud in
10   violation of 18 U.S.C. § 1349, and Counts Two through Four, Wire Fraud in violation of
11   18 U.S.C. § 1343. (Jury Verdict, ECF No. 191); (see Second Superseding Indictment, ECF No.
12   92). On July 11, 2013, Petitioner’s trial attorneys were withdrawn and excused from further
13   representation, (Mins. of Proceedings, ECF No. 233), and on July 17, 2013, Michael Cristalli
14   was designated as Petitioner’s new retained counsel, (ECF No. 236).
15          On March 7, 2014, the Court sentenced Petitioner to fifty-seven months imprisonment
16   per count, concurrent, followed by five years supervised release, along with restitution in the
17   amount of $834,500. (ECF No. 271); (Judgment, ECF No. 279). Moreover, on March 20,
18   2014, the Court ordered a criminal forfeiture money judgment of $2,766,400. (ECF No. 277).
19          Petitioner appealed his conviction to the Ninth Circuit on March 21, 2014, (Not. of
20   Appeal, ECF No. 278), and on June 8, 2015, the Ninth Circuit affirmed Petitioner’s judgment
21   and sentence, (Mem. of USCA, ECF No. 295).
22          On September 29, 2015, the Supreme Court of the State Bar of Nevada sent a Notice of
23   Service to the Courts regarding an Order of Temporary Suspension and Referral to Disciplinary
24   Board for Rojas, Petitioner’s trial counsel. Specifically, Rojas pled guilty to Count One of the
25   Criminal Information, False Statement in a Matter Within the Jurisdiction of a Governmental


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1    Agency, in violation of 18 U.S.C. § 1001. (See Change of Plea, United States v. Rojas, Case
2    No. 2:14-cr-00403-JCM-GWF (D. Nev. June 2, 2015), ECF No. 9). From March 2009 through
3    February 2011, Rojas “submitted a financial disclosure form in an attempt to refinance his
4    home, with a mortgage backed by the Federal Housing Administration (‘FHA’), and then
5    submitted a HUD-1 settlement form as part of a subsequent ‘short sale’ of his property.” (Rojas
6    Information 1:23–2:1, Case No. 2:14-cr-00403-JCM-GWF (D. Nev. June 2, 2015), ECF No. 6);
7    (see also Rojas Plea Agreement 4:5–5:20, United States v. Rojas, Case No. 2:14-cr-00403-
8    JCM-GWF (D. Nev. June 2, 2015), ECF No. 8). Rojas made these “false, fictitious, and
9    fraudulent” representations by not including on the financial disclosure form “an accurate
10   representation of his finances,” and, moreover, “the HUD-1 form contained false information
11   about the source of funding for the ‘short sale’ of [the] property.” (Rojas Information 2:2–5);
12   (see also Rojas Plea Agreement 4:5–5:20).
13            On March 5, 2015, Rojas was disbarred from the District of Nevada and on June 1,
14   2015, the Honorable James C. Mahan sentenced Rojas to three years probation. (Rojas
15   Sentencing, United States v. Rojas, Case No. 2:14-cr-00403-JCM-GWF (D. Nev. June 1, 2015),
16   ECF No. 15); (Rojas Judgment, United States v. Rojas, Case No. 2:14-cr-00403-JCM-GWF (D.
17   Nev. June 2, 2015), ECF No. 16).
18            On September 7, 2016, Petitioner filed the instant Motion to Vacate under 28 U.S.C. §
19   2255, (ECF No. 302). Petitioner seeks § 2255 relief premised primarily on the ground of
20   ineffective assistance of counsel. (Mot. to Vacate at 5).
21   II.      LEGAL STANDARD
22            Under 28 U.S.C. § 2255, a petitioner may file a motion requesting the Court which
23   imposed sentence to vacate, set aside, or correct the sentence. 28 U.S.C. § 2255(a). Such a
24   motion may be brought on the following grounds: “(1) the sentence was imposed in violation of
25   the Constitution or laws of the United States; (2) the court was without jurisdiction to impose


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1    the sentence; (3) the sentence was in excess of the maximum authorized by law; or (4) the
2    sentence is otherwise subject to collateral attack.” Id.; see United States v. Berry, 624 F.3d
3    1031, 1038 (9th Cir. 2010). Motions pursuant to § 2255 must be filed within one year from
4    “the date on which the judgment of conviction becomes final.” 28 U.S.C. § 2255(f)(1).
5    III.   DISCUSSION
6           In the instant § 2255 Motion to Vacate, Petitioner raises several grounds for challenging
7    his conviction and sentence, including, inter alia, ineffective assistance of counsel. (Mem. to
8    Mot. to Vacate 1:16–2:26, ECF No. 302-1). Claims for ineffective assistance of counsel are
9    properly raised on a § 2255 motion. See United States v. Pirro, 104 F.3d 297, 299 (9th Cir.
10   1997) (“The customary procedure for challenging the effectiveness of defense counsel in a
11   federal criminal trial is by collateral attack on the conviction under 28 U.S.C. § 2255.”).
12          Petitioner contends that he was denied effective assistance of counsel because “none of
13   his various pre-trial, trial or appellate attorneys conducted themselves in a professional manner
14   and that all of them . . . left [Petitioner] in a completely undefended condition and without
15   ability to call all necessary witnesses.” (Mem. to Mot. to Vacate 5:11–15). Moreover,
16   Petitioner asserts that none of his attorneys ever “properly and fully finish[ed] out their agreed
17   upon responsibilities to full investigate and put on a full and proper defense or direct appeal.”
18   (Id. 5:18–19).
19          To establish ineffective assistance of counsel, a petitioner must first show that counsel’s
20   conduct was not “within the range of competence demanded of attorneys in criminal cases.”
21   Strickland v. Washington, 466 U.S. 668, 687 (1984). Second, a petitioner must show that he
22   was prejudiced by that performance. See id. at 692. Under this standard, the question is
23   whether “counsel’s representation fell below an objective standard of reasonableness,” and the
24   Court’s inquiry begins with a “strong presumption that counsel’s conduct [falls] within the
25   wide range of reasonable representation.” United States v. Ferreira–Alameda, 815 F.2d 1251,


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1    1253 (9th Cir. 1987) (as amended). “[T]he standard for judging counsel’s representation is a
2    most deferential one” because “the attorney observed the relevant proceedings, knew of
3    materials outside the record, and interacted with the client, with opposing counsel, and with the
4    judge.” Harrington v. Richter, 562 U.S. 86, 105 (2011). “The benchmark for judging any claim
5    of ineffectiveness must be whether counsel’s actions so undermined the proper functioning of
6    the adversarial process that the trial cannot be relied on as having produced a just result.”
7    Strickland, 466 U.S. at 686.
8           In his personal statement, Petitioner asserts ineffective assistance of counsel by alleging
9    that he received “very threatening phone calls” from Rojas and Stein when he would not accept
10   a plea. (Personal Statement 3:7–17, ECF No. 302-2). The attorneys were “cursing [Petitioner]
11   out and blatantly trying to bully [Petitioner] to fire them if [Petitioner] didn’t accept a plea.”
12   (Id. 3:21–23). Moreover, Petitioner alleges that his trial attorneys “started to tell the
13   government about all our private discussions.” (Id. 3:23–24). After Petitioner received a guilty
14   verdict, Rojas allegedly telephoned Petitioner, “calling [Petitioner] every swear word in the
15   book and wished [Petitioner] a harsh sentencing and that [Rojas] would do the bare minimum
16   to prepare any objections to [Petitioner’s] PSI and Sentencing Memorandum.” (Id. 5:18–22).
17          The Government, however, argues that Petitioner cannot satisfy Strickland’s “stringent
18   prongs.” (Gov’t Resp. 16:1, ECF No. 304). First, the Government argues that Petitioner
19   “complains that his attorneys demanded he pay them for their services,” but that “nothing in the
20   record suggests that his attorneys stopped representing him to a constitutionally deficient
21   degree.” (Id. 16:4–7). Moreover, in regards to the trial attorneys’ behavior, the Government
22   states that “these allegations do not come close to rebutting the ‘strong presumption that
23   counsel’s representation was within the wide range of reasonable professional assistance.’” (Id.
24   16:20–17:21). The Government does not address Rojas’s conviction. Ultimately, the
25   Government asserts that Petitioner did not experience prejudice.


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1           A trial court has a duty to inquire into a potential conflict of interest when it “knows or
2    reasonably should know that a particular conflict [of interest] exists.” Cuyler v. Sullivan, 446
3    U.S. 335, 347 (1980); see also Garcia v. Bunnell, 33 F.3d 1193, 1999 (9th Cir. 1994), cert.
4    denied, 514 U.S. 1024 (1995). In United States v. Baker, 256 F.3d 855 (9th Cir. 2001), the
5    Ninth Circuit held that the guarantee of the right to effective assistance of counsel includes the
6    right to conflict-free representation. Baker, 256 F.3d at 859. Conflict-free representation is
7    shown through (1) counsel having actively represented conflicting interests and (2) that the
8    actual conflict adversely affected counsel’s performance. Id. at 860. Once an actual conflict is
9    established, adverse effect can be demonstrated by showing only “that some effect on counsel’s
10   handling of particular aspects of the trial was ‘likely.’” Id. Unlike a challenge to counsel’s
11   competency, prejudice is presumed upon such a showing. Mannhalt v. Reed, 847 F.2d 576, 580
12   (9th Cir. 1988); see Baker, 256 F.3d at 860.
13          Further, “[a]n attorney has an actual, as opposed to a potential, conflict of interest when,
14   during the course of the representation, the attorney’s and the defendant’s interests diverge with
15   respect to a material factual or legal issue or to a course of action.” Id. (citing United States v.
16   Levy, 25 F.3d 146, 155 (2d Cir. 1994)). When the district court knows or should have known
17   that a potential conflict exists, the Court has a duty to inquire into the potential conflict of
18   interest. See United States v. Esparza-Serrano, 81 Fed. Appx. 111, 114 (9th Cir. 2003)
19   (remanding an action for the court to determine whether defendant had a conflict of interest and
20   whether the potential conflict amounted to ineffective assistance of counsel).
21          In Baker, the Ninth Circuit held that the petitioner’s attorney did not have a conflict
22   when he represented the petitioner on appeal while under investigation by the United States
23   Attorney’s office for the Southern District of New York. Baker, 256 F.3d at 858–59. The
24   petitioner was convicted for cocaine possession in the Central District of California, while the
25   attorney pled guilty for conspiracy and bank fraud in connection with fraudulently obtained


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1    bank loans in the Southern District of New York. Id. at 858–59. The Ninth Circuit held that
2    because the petitioner was prosecuted, was convicted, and appealed in California, and the
3    attorney in New York on completely different charges, “[t]here is no indication in the record of
4    any connection between any of the parties involved in the two matters.” Id. at 860. Moreover,
5    the Circuit held there was no “relation between the charges or the underlying activities at issue,
6    or any other link between [the attorney’s] cooperation, plea, and sentence in New York and his
7    representation of [the petitioner] in Los Angeles.” Id. at 861. As such, in Baker, the Ninth
8    Circuit held there was no actual conflict.
9             Conversely, other circuits have found an actual conflict where counsel, while
10   representing a defendant, was under investigation or indictment by the same prosecuting
11   authorities who were prosecuting his client. See, e.g., Levy, 25 F.3d at 156 (finding an actual
12   conflict for, inter alia, the attorney’s prosecution on unrelated charges by same office
13   prosecuting defendant); Thompkins v. Cohen, 965 F.2d 330, 332 (7th Cir. 1992) (presuming
14   that an actual conflict may arise when defendant’s lawyer is under criminal investigation by the
15   same prosecutor’s office, but finding no adverse effect); United States v. McLain, 823 F.2d
16   1457, 1463–64 (11th Cir. 1987) (finding actual conflict where attorney was under investigation
17   by the same United States Attorney’s Office prosecuting the attorney’s client—the defendant—
18   and attorney had interest in prolonging the trial to delay his own indictment), overruled on
19   other grounds as recognized by United States v. Watson, 866 F.2d 381, 385 n.3 (11th Cir.
20   1989).
21            Here, Rojas was designated as Petitioner’s attorney on June 23, 2010, (ECF No. 7), and
22   Rojas withdrew on July 11, 2013, (ECF No. 233). Rojas’s Information shows that Rojas was
23   under investigation between 2009 and 2011, with at least a year and a half of his investigation
24   occurring while he represented Petitioner. (See Rojas Information 1:23–2:1).
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1            Although it is unclear as to when Rojas was put on notice that he was being investigated,
2    the Court finds prejudice in Rojas committing the same criminal conduct for which he was
3    defending Petitioner—mortgage fraud. Specifically, Petitioner was convicted for recruiting “a
4    straw buyer to pose as a legitimate property purchaser” in order to “obtain money and property
5    by conducting sham sales of houses.” (Second Superseding Indictment ¶ 1–3, ECF No. 92).
6    Similarly, Rojas was convicted for providing false information about the source of funding for
7    the short sale of his property while simultaneously providing an inaccurate representation of his
8    finances. (See Rojas Information 1:23–2:1). Both instances involved related factual issues,
9    where Petitioner and Rojas sold houses fraudulently, and both involved related legal issues,
10   where they engaged in fraud. Moreover, Rojas’s use of a straw buyer in committing mortgage
11   fraud occurred between February 2011 and March 2011—six months after he began defending
12   Petitioner. (Rojas Plea Agreement 4:20–5:6, ECF No. 8).
13           Further, it appears that Rojas was being investigated by the same investigating agents
14   who were concurrently investigating Petitioner while Rojas was representing Petitioner.2 The
15   temporal proximity between Rojas committing his fraud in February 2011, while representing
16   his client, Petitioner, for an almost identical fraud, is significant. Additionally, Rojas was
17   convicted in the District of Nevada, and Petitioner was convicted in the District of Nevada.
18   Due to the amount of overlap between Petitioner’s crimes and Rojas’s crimes, the Court finds
19   that Petitioner’s conviction and Rojas’s conviction are sufficiently related to create an actual
20   conflict.
21           Accordingly, Rojas actively represented Petitioner while being investigated for his own
22   similarly-situated fraud charges. Rojas’s conflict and criminal temporal proximity likely
23   affected his handling of Petitioner’s trial. See Baker, 256 F.3d at 860. The Court finds that
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     2
       While the Southern District of California’s AUSAs litigated the Government’s case against Rojas, it appears
25   that the same mortgage fraud investigation team agents were involved in both Rojas’s and Petitioner’s cases.
     Moreover, Rojas was charged, had pled, and was sentenced in the District of Nevada, the same district in which
     Petitioner was convicted.

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1    there is an actual conflict and an adverse effect to Petitioner, and therefore prejudice is
2    presumed. See id. Even if prejudice were not presumed, the Court finds sufficient prejudice
3    here due to Rojas representing and advising Petitioner while concurrently being investigated for
4    similar charges, and involved in the same criminal conduct of mortgage fraud. As Strickland
5    warns, Rojas’s actions in this situation have “so undermined the proper functioning of the
6    adversarial process that the trial cannot be relied on as having produced a just result.”
7    Strickland, 466 U.S. at 686. As such, the Court grants Petitioner’s Motion and vacates his
8    conviction.
9    IV.    CONCLUSION
10          IT IS HEREBY ORDERED that Petitioner’s Motion for Leave to File and Dismiss
11   Attorney, (ECF No. 301), is GRANTED in part and DENIED in part. Specifically,
12   Petitioner’s Motion to file his § 2255 Motion pro se is GRANTED. However, Petitioner’s
13   Motion requesting his currently retained counsel be dismissed is DENIED.
14          IT IS FURTHER ORDERED that Petitioner’s Motion to Vacate under 28 U.S.C.
15   § 2255, (ECF No. 302), is GRANTED. Petitioner’s original conviction is vacated.
16          IT IS FURTHER ORDERED that Petitioner’s pending motions, (ECF Nos. 305, 307,
17   309, 310, 311), are DENIED as moot.
18          IT IS FURTHER ORDERED that a Status Hearing is set for Friday, July 7, 2017, at
19   10:30 p.m. in Courtroom 7C. The new calendar call and trial dates will be scheduled at the
20   Status Hearing.
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1           IT IS FURTHER ORDERED that attorney Michael Cristalli is required to be present
2    at the hearing on Friday, July 7, 2017.
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4           DATED this 19th day of June, 2017.
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6                                                 ___________________________________
                                                  Gloria M. Navarro, Chief Judge
7                                                 United States District Court
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